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Dear Honorable Judge Thomas Hogan,

Case #

I’m writing to ask for mercy on behalf of my friend George A. Tenney III, who pleaded guilty of
18 U.S.C.231(a)(3),1512(c)(2) on 6-21-22 and will be entering the sentencing phase soon.

I appreciate you allowing me this opportunity to tell you about the George A. Tenney III I know.
My husband and I have been George’s friends for over 6 years. George is a talented, local
musician and so is my husband. We met because of music. I became friends with George
because I like his hard-working nature, out-going, generous, personality. I got to know George’s
wonderful children and see him Be a father because he and the kids spent time with us at our
home or out of their boat and other fun times. George is a very loving, fun, involved father. And
his children adore him. He even stepped up and coached his sons t-ball team.

George is also very kind and generous with his friends. For example; I was caring for my sick
father who was in hospice for months in Fla. George and the kids drove the to our house several
times to cheer up my husband and making him a wonderful dinner. (George is an amazing chef
too.) How kind is that?

I’d want to point out that, despite the fact that he pleaded guilty, it was an extremely unusual
behavior for him because he is not a radical guy. He knows this is a serious offense.

He expresses deep guilt for his conduct and actions. And for the heartache it has caused his
family. He swears to never do it again. I believe him since I know him, and I respectfully seek a
lenient punishment because his family will be severely harmed if he is not here to care for them.
Thank you for reading my letter and taking the time to consider, the George I know, as opposed
to the guy that got caught up in what was going on in the United States at the time.

Respectfully,



Deborah Barnard
